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 4
                            UNITED STATES DISTRICT COURT
 5                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
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     CARLOS VALDOVINOS-DIAZ,                                CASE NO. C16-5510 BHS
 8                                                                   CR14-5159-BHS
                        Petitioner,
 9
                 v.                                         ORDER DENYING PETITION
10
     UNITED STATES OF AMERICA,
11                       Respondent.
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            This matter comes before the Court on Carlos Valdovinos-Diaz’s (“Petitioner”)
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     motion under 28 U.S.C. § 2255. Dkt. 1. The Court has considered the pleadings filed in
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     support of and in opposition to the motion and the remainder of the file and hereby denies
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     the motion for the reasons stated herein.
17
                         I. PROCEDURAL AND FACTUAL HISTORY
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            On January 22, 2015, Petitioner pled guilty to Conspiracy to Distribute
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     Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(c), and 846. Cause No.
20
     CR14-5159, Dkt. 152. Petitioner also pled guilty to Possessing a Firearm in Furtherance
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     of a Drug Trafficking Crime, in violation of 18 U.S.C. § 924(c)(1)(A)(i). Id. On April 27,
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 1 2015, the Court sentenced Petitioner to a total term of 102 months of incarceration. Id.,

 2 Dkts. 255, 257. The conviction included a mandatory consecutive 60-month sentence

 3 pursuant to 18 U.S.C. § 924(c)(1)(A)(i). See id., Dkt. 257 at 1. Except for the motion

 4 presently before the Court, Petitioner has neither appealed his conviction nor filed any

 5 post-conviction motions.

 6          On June 26, 2015, the Supreme Court decided Johnson v. United States, 135 S. Ct.

 7 2551 (2015). In Johnson, the Court held that the residual clause of the Armed Career

 8 Criminal Act (“ACCA”), 18 U.S.C. § 924(e), was an unconstitutionally vague sentencing

 9 statute in violation of the Due Process Clause. Id. at 2557. On April 18, 2016, the

10 Supreme Court decided Welch v. United States, 136 S. Ct. 1257 (2016). In Welch, the

11 Court held that “that Johnson is retroactive in cases on collateral review . . . .” Id. at

12 1268.

13          On June 16, 2016, Petitioner filed his motion under 28 U.S.C. § 2255. Dkt. 1-1.

14 Petitioner argues that his sentence was enhanced under the ACCA and that it should be

15 reduced pursuant to the Supreme Court’s ruling in Johnson. Dkt. 1. On July 22, 2016, the

16 Government responded. Dkt. 3. The Government contends that the motion is procedurally

17 barred and that the Supreme Court’s ruling in Johnson is inapplicable to Petitioner’s

18 sentence. Id.

19                                        II. DISCUSSION

20          Petitioner’s claim is procedurally barred by his failure to raise his claim on direct

21 review. “[F]or federal and state convictions, habeas review is not to substitute for an

22 appeal.” United States v. Braswell, 501 F.3d 1147, 1150 (9th Cir. 2007). The Ninth


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 1 Circuit “has held that the failure to raise sentencing issues may preclude the Petitioner

 2 from asserting those issues by way of a § 2255 petition.” United States v. Schlesinger, 49

 3 F.3d 483, 485 (9th Cir. 1994). Accordingly, “[w]here a defendant has procedurally

 4 defaulted a claim by failing to raise it on direct review, the claim may be raised in habeas

 5 only if the defendant can first demonstrate either ‘cause’ and actual ‘prejudice’. . . .” Id.

 6 at 1149 (quoting Bousley v. United States, 523 U.S. 614, 622 (1998)).

 7          Petitioner did not raise his claim at trial, nor did he appeal his conviction. In light

 8 of this default, Petitioner may not implement 28 U.S.C. § 2255 to collaterally raise

 9 sentencing issues without showing both (1) cause for his failure to raise the issue on

10 direct review and (2) actual prejudice. United States v. Frady, 456 U.S. 152, 168 (1982).

11 Petitioner can show neither.

12 A.       Cause

13          Petitioner cannot show cause for failing to bring his claim on direct review. 1 “[A]

14 claim that ‘is so novel that its legal basis is not reasonably available to counsel’ may

15 constitute cause for a procedural default.” Bousley, 523 U.S. at 622 (quoting Reed v.

16 Ross, 468 U.S. 1, 16 (1984)). Petitioner does not expressly argue that his argument was

17 unavailable at trial due to its novelty, but his reliance on Johnson necessarily implicates a

18 novel theory. However, the fact that Johnson was decided subsequent to Petitioner’s

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             Petitioner’s plea agreement includes an appellate waiver, which might explain his
21 failure to appeal. Dkt. 152 at 10. Nonetheless, an appellate waiver will not act as “cause” for
   Petitioner’s failure to raise this issue on direct review, as the Ninth Circuit has recognized that 28
   U.S.C. § 2255 may not be invoked to collaterally litigate claims foreclosed by such a waiver. See
22 United States v. Abarca, 985 F.2d 1012, 1014 (9th Cir. 1993).


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 1 sentencing does not by mean that the issue litigated in Johnson was so novel as to prevent

 2 Petitioner from raising it on direct review. See Bousley, 523 U.S. at 622 (finding no cause

 3 when “at the time of petitioner’s plea, the Federal Reporters were replete with cases

 4 involving challenges” on an identical theory).

 5          At the time of Petitioner’s sentencing, the issue he raises now was receiving great

 6 attention from the Supreme Court. On November 5, 2014, prior to Petitioner’s

 7 sentencing, the Supreme Court heard oral argument on Johnson. 135 S. Ct. 2551. On

 8 April 20, 2015, seven days prior to Petitioner’s sentencing, the Supreme Court heard

 9 reargument specifically on the unconstitutional vagueness of the ACCA. Id. Under these

10 circumstances, Petitioner cannot establish that his argument was “so novel that its legal

11 basis [was] not reasonably available to counsel.” Reed, 468 U.S. at 16.

12          Nor may Petitioner establish “cause” by showing that his attorney’s failure to raise

13 the issue at trial constituted ineffective assistance of counsel. “The failure to raise a

14 meritless legal argument does not constitute ineffective assistance of counsel.” Baumann

15 v. United States, 692 F.2d 565, 572 (9th Cir. 1982). As explained below, the Court

16 determines that Petitioner’s reliance on Johnson is meritless.

17 B.       Prejudice

18          Even if Petitioner could show “cause” for his failure to argue the vagueness of the

19 ACCA on direct review, he cannot show “actual prejudice.” To establish prejudice,

20 Petitioner must show that an error at sentencing “worked to his actual and substantial

21 disadvantage, infecting [the proceeding] with error of constitutional dimensions.” Frady,

22 456 U.S. at 170.


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 1          Petitioner cannot show prejudice when the Supreme Court’s holding in Johnson is

 2 inapplicable to his sentence. In Johnson the Supreme Court found the language in the

 3 residual clause of § 924(e)(2)(B)(ii) was unconstitutionally vague. 135 S. Ct. at 2555.

 4 The decision in Johnson did not invalidate any other provision of the ACCA. Id. at 2563

 5 (“Today’s decision does not call into question application of the Act to the four

 6 enumerated offenses, or the remainder of the Act’s definition of a violent felony.”).

 7 Petitioner did not receive a mandatory minimum sentence pursuant to the ACCA. He was

 8 neither convicted under 18 U.S.C. § 922(g) nor did he have any prior criminal history:

 9 both are necessary elements under the ACCA. 18 U.S.C. § 924(e)(1). Rather, Petitioner

10 received his mandatory minimum sentence of 60 months pursuant to the mandatory

11 minimum enhancement under § 924(c)(1)(A)(i). 2

12          Where Petitioner’s sentencing was unrelated to the ACCA, Petitioner can not rely

13 on Johnson to seek a new sentence. Petitioner has failed to raise any failure at sentencing

14 that resulted in prejudice.

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                While § 924(c) and the ACCA share § 924 in Title 18 of the United States Code, the §
18 924(c) enhancements are not part of the ACCA. The ACCA is comprised solely of § 924(e),
     initially passed as part of the Comprehensive Crime Control Act of 1984. Pub. L. No. 98-473, ch.
19   XVIII, 98 Stat. 1837, 2185 (1984). The § 924(c) enhancements were initially passed an
     amendment to the Gun Control Act of 1968. Pub. L. 90-618, 82 Stat. 1223 (1968). It was
20   subsequently amended by a 1971 amendment, the Sentencing Reform Act of 1984, the Firearm
     Owners Protection Act, and amendments in 1988, 1990, 1998 and 2005. § 13, Pub. L. 91-644, 84
21   Stat. 1889 (1971); § 1005, Pub. L. 98-473, 98 Stat. 2138 (1984); Pub. L. 99-308, 100 Stat. 457
     (1986); § 6460, Pub. L. 100-690, 102 Stat. 4373 (1988); § 1101, Pub. L. 101-647, 104 Stat. 4829
     (1990); § 1, Pub. L. 105-386, 112 Stat. 3469 (1998); § 6(b), Pub. L. 109-92, 119 Stat. 2102
22   (2005).


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 1                                       III. ORDER

 2         Therefore, it is hereby ORDERED that the Petitioner’s motion under 28 U.S.C. §

 3 2255 (Dkt. 1) is DENIED.

 4         Dated this 23rd day of August, 2016.

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                                                  A
                                                  BENJAMIN H. SETTLE
                                                  United States District Judge

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